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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION


 UNITED STATES OF AMERICA,                          CR 14-80-GF-BMM

                        Plaintiff,
     vs.                                                  ORDER

 FRANK AUSTIN DAMON,
                        Defendant.

      Defendant has moved for an early termination of his supervised release under

18 U.S.C. § 3583(e). The Government does not oppose the motion. (See Doc. 101

at 2). Defendant’s probation officer takes no position on this motion. Id. The Court

conducted a hearing on the motion on May 3, 2017.

      Defendant pleaded guilty to theft on November 13, 2004. (Doc. 41). The

Court sentenced the Defendant on February 5, 2015, to a four year term of

probation. (Doc. 47). The Defendant violated the terms of his probation by using

methamphetamine. The Court revoked Defendants’ probation on April 18, 2016,

and sentenced the Defendant to a term of custody of time served, followed by four

years of supervised release. (Doc. 94). A condition of supervised release required

the Defendant to successfully complete the Eight Judicial District Veterans

Treatment Court. (Doc. 94 at 4). The Defendant graduated from the Eighth
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Judicial District Veterans Treatment Court on April 25, 2017. See Doc. 102 at 2.

Defendant has been on supervised release for approximately one year. The record

reflects that Defendant has complied with all of the conditions of his supervised

release. See Doc. 102 at 4. The Defendant is gainfully employed. Id. at 2. The

factors in 18 U.S.C. § 3553 support an early termination of supervised release.

       For the reasons discussed in open court, IT IS ORDERED:

      1.     Defendant’s Motion for Early Termination of Supervised Release

(Doc. 102) is GRANTED.

      2.     Defendant is DISCHARGED from supervised release.

      DATED this 3rd day of May, 2017.




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